    Case
MIE (Rev. 9/09)2:20-cv-11256-SFC-RSW                       ECF
               Order Regarding Reassignment of Companion Case - Civil No.   3 filed 06/24/20     PageID.152     Page 1 of 1



                                                   UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF MICHIGAN

GROUP 1 AUTOMOTIVE, INC., et al.,


                      Plaintiff(s),                                           Case No. 2:20-cv-11256

v.                                                                            Honorable Laurie J. Michelson

Nishikawa Rubber Co. Ltd., et al.,                                            Magistrate Judge David R. Grand


                      Defendant(s).
                                                                     /

                               ORDER REGARDING REASSIGNMENT OF COMPANION CASE

         This case appears to be a companion case to Case No.           12-md-02311    . Pursuant to E.D. Mich LR
83.11, the Clerk is directed to reassign this case to the docket of the Honorable Sean F. Cox
and Magistrate Judge R. Steven Whalen                     .


                                                                              s/Laurie J. Michelson
                                                                              Laurie J. Michelson
                                                                              United States District Judge

                                                                              s/Sean F. Cox
                                                                              Sean F. Cox
                                                                              United States District Judge




           Pursuant to this order, case assignment credit will be given to the appropriate Judicial Officers.
           Case type: CIVIL

        If the District Judge assigned to the companion case is located at another place of holding court, the office
code will be changed accordingly.


Date: June 24, 2020                                                          s/Andrea Teets
                                                                             Deputy Clerk

cc:     Parties and/or counsel of record
        Honorable Sean F. Cox
